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 3
 4                                UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
 6                                                  ***
 7    NML CAPITAL, LTD.,                                 Case No. 2:14-cv-00492-RFB-VCF
 8                       Plaintiff,                                          ORDER
 9           v.
10    REPUBLIC OF ARGENTINA, et al. ,
11                     Defendants.
      or




12
13          Before the Court is the Motion for Clarification (ECF No. 305) and Motion for Sanctions

14   (ECF No. 243). The Court grants the Motion for Clarification and denies the Motion for Sanctions.

15          The Court does not find that there is sufficient evidence to find that M.F. Corporate

16   Services (“MF Nevada”) or Mossack Fonseca engaged in a willful abuse of the discovery process.

17   Roadway Express, Inc. v. Piper, 447 U.S. 752, 766 (1980). The Court does not find that the so-

18   called “Panama Papers” are sufficiently reliable or persuasive to establish sanctionable conduct by

19   MF Nevada or Mossack Fonseca. MF Nevada actually participated in and produced documents in

20   discovery. MF Nevada raised plausible and appropriate objections to certain discovery demands

21   while still providing information and documents. Mossack Fonseca raised legitimate objections

22   to legal arguments by the Plaintiff as well as appropriate jurisdictional arguments. Based upon

23   these findings and the record here, the Court does not find either entity engaged in willful or bad

24   faith conduct during discovery. Consequently, the Court denies the Motion for Sanctions.

25          Accordingly,

26          IT IS ORDERED that Defendant’s Motion for Clarification (ECF No. 305) is GRANTED.

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 1           IT IS FURTHER ORDERED that the Motion for Sanctions (ECF No. 243) is DENIED.
 2    This case shall remain closed.
 3
 4           DATED: March 27, 2019.
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                                                    __________________________________
 6                                                  RICHARD F. BOULWARE, II
                                                    UNITED STATES DISTRICT JUDGE
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